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    AFFIDAVIT OF FBI SPECIAL AGENT KATELIN EHRHARDT IN SUPPORT OF
                          CRIMINAL COMPLAINT

       I, Katelin J. Ehrhardt, being duly sworn, depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent with the Federal Bureau of Investigation

(“FBI”) for approximately four years. I am currently assigned to the Lakeville Resident Agency

within the Boston Division in Lakeville, Massachusetts. Prior to my employment with the FBI, I

served as a police officer with the Metropolitan Nashville Police Department (“MNPD”) in

Nashville, Tennessee for approximately five years. While employed by MNPD, I participated in

various investigations as a patrol officer and as a detective assigned to the Community Field

Intelligence Team. As a federal agent, I am authorized to investigate violations of the laws of the

United States, including criminal violations relating to child exploitation, child pornography,

coercion and enticement, and transportation of minors, including but not limited to violations of

18 U.S.C. § 2422, 2423, 2251, and 2252A. I have received training in the investigation of child

pornography, child exploitation, and transportation of minors, and have had the opportunity to

observe and review examples of child pornography as defined in 18 U.S.C. § 2256. I have

participated in the execution of a number of search warrants in child pornography cases.

       2.      I submit this affidavit in support of a criminal complaint charging Brandon Bendall

(“BENDALL”), year of birth 1976, with possession of child pornography (18 U.S.C. §

2252A(a)(5)(B)) and receipt of child pornography (18 U.S.C. § 2252A(a)(2)). The facts stated

herein are based on my own personal involvement with this investigation as well as from

information provided to me by other law enforcement officers. Because this affidavit is submitted

for the limited purpose of securing a criminal complaint, I have not included every fact known to




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me concerning this investigation. Instead, I have set forth only the facts that I believe are necessary

to establish the probable cause for the requested complaint.

                            STATEMENT OF PROBABLE CAUSE

            The Underlying Investigation and Distribution by the SUSPECT USER

       3.      On January 21, 2022, the FBI El Paso, Texas Field Office conducted a Mirandized

interview of an individual (“Person 1”) who was the target of a child pornography investigation.

During the interview, Person 1 stated he obtained child sexual abuse material (“CSAM”) 1 from

unidentified individuals via a Wickr chat group named “MeWe/Instagram/Telegram Pervs.”

Person 1 provided agents consent to assume his online identity. From on or about January 25,

2022 to March 28, 2022, an FBI El Paso UC (UC) worked in an on-line undercover capacity from

a laptop located in the Western District of Texas. The UC conducted an account takeover of Person

1’s Wickr Pro account. The UC monitored the Wickr group chat, which at that time contained

twenty-six members, from on or about January 26, 2022, to March 28, 2022. Within those sessions,

multiple users shared CSAM images and videos, including from a MEGA link containing over

1000 CSAM videos, Instagram Reels containing CSAM videos of minor females, and Likee videos

containing CSAM videos of minor females. 2              A user identified by the email address




       1
           “Child pornography” is a term defined by statute as “any visual depiction…of sexually
explicit conduct, where the production of such visual depiction involves the use of a minor engaged
in sexually explicit conduct.” See 18 U.S.C. § 2256(8)(A). In recent years, child pornography has
been more widely referred to as “child sexual abuse material (CSAM),” including by law
enforcement and the National Center for Missing and Exploited Children. Where I use that term
in this affidavit, it is to refer to child pornography as defined by federal statute.
       2
          Based on my review of publicly available information, and on my training and experience,
I know the following: Wickr and Telegram are end-to-end encrypted communication apps. Likee
is a free original short video maker and sharing platform with live streaming abilities. Instagram
Reels are short videos that can be created and watched on Instagram. MEGA is a file sharing


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[REDACTED]@yandex.com 3 (hereinafter, the “SUSPECT USER”) was noted to have become a

moderator of the group sometime after the UC assumed Person 1’s identity in the group. Because

the UC assumed the identity of Person 1 and did not go through any vetting process to join the

group, the UC has no knowledge as to what actions or information was required to join the group.

       4.       The UC observed that the SUSPECT USER distributed at least seventeen video

files in the “MeWe/Instagram/Telegram Pervs” chat between January 25, 2022, and February 1,

2022. I have reviewed those files and believe that they all constitute CSAM. Below is a summary

of three of the seventeen video files:

                a.      On or around February 6, 2022, the SUSPECT USER distributed a video

       file (VID_20220206_020630_185.mp4), which is approximately 4 minutes and 20 seconds

       in length and depicts a prepubescent female child who, based on her small body size, body

       features, and complete absence of pubic hair and breast development, appears to be

       approximately 6 to 9 years old. The child is wearing a white shirt and completely nude

       from the waist down. The video shows an erect adult penis being forced into the female

       child’s anus while the adult male is standing behind her.

                b.      On or around February 6, 2022, the SUSPECT USER distributed a video

       file (VID_20220206_142055_766.mp4), which is approximately 1 minute and 26 seconds

       in length. The video depicts a prepubescent female child who, based on her small body

       size, body features, and complete absence of pubic hair, appears to be approximately 5 to

       8 years old. The child is completely nude standing inside a shower with the water running.



service based in New Zealand, which allows users to send end-to-end encrypted links to cloud-
based content.
       3
           The full email address is known to law enforcement.



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An adult male with his pants around his ankles is standing outside of the shower with an

erect penis. The adult male tells the child, “Come on, get it”, while the adult inserts his

penis into her mouth while she is standing. The adult male slaps the child’s buttocks while

his penis is inside her mouth and says, “Fuck yeah. Give me that little ass.” While the

adult’s erect penis is inside the child’s mouth, he says, “Go deep, go deep, go deep. All the

way, all the way.” The adult male tells the child to get on her knees and that he is about to

“cum.” The child gets on her knees. The adult male tells the child to look up at him and he

ejaculates inside and around the child’s mouth.

       c.      On or around March 19, 2022, the SUSPECT USER distributed a video file

(VID_20220319_223742_935.mp4), which is approximately 10 minutes and 44 seconds

in length and depicts a female child who, based on her small body size, features, and

complete absence of pubic hair, appears to be approximately 7 to 10 years in age. The child

is completely nude laying on her stomach while an adult male is lying on his back and

inserts his penis into the child’s mouth. The child sits up and faces away from the adult

male while the adult male records the child’s genitals. The child turns back around to face

the adult male while the erect adult penis is inserted into her vagina. The adult penis is

removed from the child’s vagina and the child lays on her back while the adult pushes his

penis against her genitals. The adult penis is inserted into the child’s mouth again. The adult

male sits up while the child is on all fours facing away from him, while the adult male

masturbates. The adult penis vaginally penetrates the child while behind her. When the

adult penis is removed, the child grabs a piece of white clothing and uses it to wipe her

genitals. The audio depicts the adult male breathing heavily.




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       5.      On or about February 6, 2022, the SUSPECT USER posted the following in the

group: “Welcome @hard10always Enjoy! (smiling emoji).”

       6.      On or around February 21, 2022, the SUSPECT USER posted an image of a female

minor, who appears to be approximately seven to nine years of age due to her size and child-like

facial features. In the image, the female minor holds a piece of paper with the following typed text:

“My name is [REDACTED], 7 years old, Please Daddy, give me your cum.”

       7.      On or about February 27, 2023, the SUSPECT USER posted an image of two nude

minor females, who appear to be approximately seven to nine years of age due to their small size

and absence of breast development or pubescent hair, one of which is lying on her back with her

hips in the air while the other performs cunnilingus on her. The image contained the following

text: “Child Porn It Really Is Awesome.”

       8.      On or about March 26, 2022, the SUSPECT USER responded to another user’s post

and stated, “Welcome Heather (hands waving and smile emoji).” The response was to username,

“heathercums2” who on or around March 26, 2022, posted “Thanks for the add (kissing face

emoji).” Shortly after SUSPECT USER’s March 26, 2022, comment, the group was shut down by

the primary moderator. The UC reached out to the primary moderator (who was not SUSPECT

USER) Wickr and asked why the group had been shut down. The primary moderator stated that it

was shut down because there were too many “lurkers” not posting content on the chat room. The

primary moderator commented that the undercover Person 1 was one such “lurker.” Based on my

training and experience, I believe “lurkers” (those who do not post content) in this context are

often suspected of being affiliated with law enforcement.

                             Identification of the SUSPECT USER

       9.      Law enforcement in Texas took steps to identify the SUSPECT USER, as outlined




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below, and thereafter forwarded the information to FBI Boston for further investigation.

       10.     In response to legal process, MEGA provided subscriber information regarding the

SUSPECT USER, including IP addresses used to access MEGA services. Verizon thereafter

provided subscriber information regarding two of those IP addresses, both of which resolved to

Brandon BENDALL at his residence in Wareham, Massachusetts. AT&T thereafter provided

subscriber information related to a phone number associated with the Verizon account, which also

resolved to BENDALL at his residence in Wareham.

       11.     In response to legal process, Wickr provided certain subscriber information for the

SUSPECT USER’s account, including information about Google push tokens related to the

account; subscriber information provided by Google about some of those tokens resolves to a user

identified as “BKB” with BENDALL’s email address, and agents were further able to trace an IP

address associated with one of the push tokens (as well as the email address itself) to BENDALL

at his Wareham residence.

       12.     On January 25, 2024, the FBI El Paso office received information from the National

Center for Missing and Exploited Children (NCMEC) about two prior CyberTips related to the

BENDALL’s email address and alleged child pornography activity on Instagram in 2020.

       13.     The FBI El Paso Field Office referred the matter to the Boston Field Office

Lakeville Resident Agency. Based in part on the foregoing information, I obtained a federal search

warrant for BENDALL’s Wareham residence. See Docket 25-7011-JCB. The affidavit submitted

in support of that warrant application is attached here as Sealed Exhibit 1 and incorporated by

reference.

                    Search Warrant Executed at BENDALL’S Residence

       14.     The warrant was executed on January 15, 2025. BENDALL was home at the time




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and declined to speak with agents. During the search, BENDALL’s cellphone was seized from his

bedroom. 4

       15.    In my review of BENDALL’s cellphone, I located approximately 9,467 images and

videos that, based on my training and experience, I believe depict child pornography. Three

examples of the child pornography located on BENDALL’s cellphone are described below:

              a.      A color video file (5_6163402336048779086.mp4), approximately 43

       seconds in length, depicting a female infant, nude from the waist down with a white piece

       of clothing above the waist. The infant is laying on her back on top of an open diaper while

       an erect adult penis ejaculates on her genitals. The infant’s legs are raised upward with her

       feet near her head.

              b.      A color video file (5_6163402336048779092.mp4), approximately 14

       seconds in length, depicting a female infant nude from the waist down wearing a light pink

       piece of clothing and red piece of clothing with white designs above the waist. The infant

       is laying on her back with her legs spread apart while an adult male wearing a ring on his

       ring finger anally penetrates the infant with his erect penis.

              c.      A color video file (4_5825645605380167008.mp4), approximately 43

       seconds in length, depicting a female infant nude from the waist down wearing a red piece

       of clothing above the waist. The infant is laying on her back and her face is not visible. An

       adult male is anally penetrating the infant’s anus with his erect penis.

       16.    These videos were located in the media folder. Based on my review of the forensic

extraction of the videos, I understand that each of the videos were located among data associated


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         Nineteen other devices were also seized. Based on the nature of the additional devices’
encryption, the FBI has not yet been able to examine them.



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with Telegram Messenger. I know that Telegram is an end-to-end encrypted communication

application, which has been used by subjects in (and the subject itself of) child exploitation and

child pornography investigations nationwide. Telegram Messenger is currently installed on the

device; it was first installed using the Google Play Store on May 12, 2021 and again on April 2,

2023. 5

          17.    My examination of the cellphone also revealed Google information indicating that

BENDALL purchased Wickr Pro on April 29, 2021 – before the SUBJECT USER used Wickr to

distribute the CSAM noted above. Additionally, my review of the cellphone’s Firefox data

revealed that on March 5, 2022, BENDALL searched for “install Wickr Pro on Linux.” Although

March 5, 2022, was near the end of the period during which SUBJECT USER posted/distributed

CSAM, I believe that BENDALL was researching how to install Wickr Pro on the Linux operating

system.

                                          CONCLUSION

          18.    Based on the information described above, I submit there is probable cause to

believe that:

                 a.     On or about January 15, 2025, in the district of Massachusetts, BENDALL

          knowingly possessed material that contained one and more images of child pornography,

          as defined in Title 18, United States Code, Section 2256(8), that involved a prepubescent


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          I understand, from consulting with agents and other forensic personnel, that there are no
reliable “created” or “modified” dates associated with the images; every file in the video/media
folder was assigned a date of 01/01/70, which I understand is a standard starting point for
timekeeping in computer systems, and which is commonly seen (in lieu of the actual creation or
modified date of a file) when the file’s metadata is not available to the computer or phone on which
it was recovered. Therefore, while I cannot identify a specific date on which BENDALL received
the thousands of CSAM located on his phone, I know that it was during a date range attenuated to
his use of the Telegram application, beginning at least on or about May 12, 2021.



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       minor and a minor who had not attained 12 years of age, and that had been mailed, and

       shipped and transported using any means and facility of interstate and foreign commerce

       and in and affecting interstate and foreign commerce by any means, including by computer,

       and that was produced using materials that had been mailed, and shipped and transported

       in and affecting interstate and foreign commerce by any means, including by computer, in

       violation of 18 U.S.C. § 2252A(a)(5)(B); and

              b.     From on or about May 12, 2021 to January 14, 2025, in the district of

       Massachusetts, BENDALL knowingly received any child pornography, as defined in Title

       18, United States Code, Section 2256(8), that had been mailed, and using any means and

       facility of interstate and foreign commerce shipped and transported in and affecting

       interstate and foreign commerce by any means, including by computer, in violation of 18

       U.S.C. § 2252A(a)(2).



                                              Sworn to under the pains and penalties of perjury,



                                                   ___________________________________
                                                   Katelin J. Ehrhardt
                                                   Special Agent, FBI



SWORN before me telephonically in accordance with Fed. R. Crim. P. 4.1(d)(3) this 1st day of
May, 2025.


                                            ___________________________________
                                            HONORABLE JUDITH G. DEIN
                                            UNITED STATES MAGISTRATE JUDGE




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